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IN THE UNITED s'rATEs DISTRICT Coun`i;i
FoR WESTERN DIsTRICT oF TENNESSEE~

 
 

 

WESTERN DIVISI()N ,-3

*
RONALD MCALLISTER, "'
=i<

Plaintiff, * Case No. 01-2925 D
*
vS. *
>I¢
CITY OF MEMPHIS, et al., *
>i<
Defendants. *
*
*

 

ORDER ADM]NISTRATIVELY CLOSING CASE

 

lt appears to the court that the parties have notified the court that they have resolved their
dispute, however, they are completing the paperwork to memorialize the resolution. This court,
therefore, Will administratively close the above-captioned case pursuant to its inherent powers as it
appears that no further case administration is Warranted at this time.

lt is expressly emphasized that an order administratively closing a case is purely an
administrative device for the convenience of the court and in nowise affects the substantive and/or
procedural rights of the parties in interest to proceed before this court at a later date. To
administratively close a case merely means to close a case for statistical purposes in the office of the
District Court Clerk and the Administrative Oft`lce of the United States Courts.

lt also is expressly emphasized that an administratively closed case can be easily reopened

by a simple order of the court without the necessity of a reopening filing fee should the case require

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further administration Upon its reopening, the case then becomes, ipso facto, a statistically active
case and resumes the same status it had before the administrative closing without prejudice to the
rights of any party in interest. Accordingly,

IT IS ORDERED AND NOTICE IS HEREBY GIVEN THAT:

l. The Court Clerk is directed, consistent with the foregoing, to administratively close this
case in his records without prejudice to the substantive and/or procedural rights of any party in
interest to move at a later time to reopen the case for good cause, including the entry of any
stipulation or order, or for any other purpose required to obtain a final determination of pending
litigation

2. In the event a party in interest files a motion at a later time seeking to reopen this
administratively closed case, no reopening filing fee shall be required

3. The Clerk is expressly directed to docket any order of dismissal immediately upon receipt.

IT ls so oRDERED this Z§ *"` day ar mazz/ ,2005.

iCE B. r')oNALD
TED sTATEs Disraicr JUDGE

  

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 84 in
case 2:0]-CV-02925 was distributed by faX, mail, or direct printing on
May 19, 2005 to the parties listed.

 

 

Jeffrey S. Rosenblum
ROSENBLUM & REISMAN
80 Monroe Ave.

Ste. 560

l\/lemphis7 TN 38103

.lean Markowitz
CAUSEY CAYWOOD
100 North Main St.

Ste. 2400

l\/lemphis7 TN 38103

Henry L. Klein

APPERSON CRUMP & MAXWELL, PLC
6000 Poplar Ave.

Ste. 400

l\/lemphis7 TN 38119--397

Thomas E. Hansom
HANSOM LAW OFFICE
659 Freeman Street
l\/lemphis7 TN 38122--372

Sara L. Hall

CITY ATTORNEYS OFFICE
125 N. Main Street

Rm. 3 14

l\/lemphis7 TN 38103

Kirk A. Caraway
ROSENBLUM & REISMAN
80 Monroe Ave.

Ste. 950

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

